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UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

ANGELA D CAESAR
Clerk of Court

NOTICE OF RIGHT TO CONSENT TO TRIAL
BEFORE A UNITED STATES MAGISTRATE JUDGE

The substantial criminal caseload in this Court and the requirements of the criminal Speedy Trial
Act frequently result in the delay in the trial of civil cases. Aware of the hardship and expense to
the parties, counsel, and witnesses caused by the delays which are beyond the control of the Court,
this notice is to advise you of your right to trial of your case by a United States Magistrate Judge.

By statute, 28 USC §636(c), Fed.R.Civ.P. 73 and Local Civil Rule 73.1. the parties, by consent, can
try their case by means of a jury trial or bench trial before a United States Magistrate Judge.

Appeals from judgments and final orders are taken directly to the United States Court of Appeals
for the District of Columbia Circuit, in the same manner as an appeal from a judgment of a United
States District Judge in a civil case.

WHAT IS THE PROCEDURE?

One of the matters you are required to discuss at the meet-and-confer conference mandated by Local
Civil Rule 16.3 is whether the case should be assigned to a United States Magistrate Judge for all
purposes, including trial

All parties must consent before the case is assigned to a Magistrate Judge for trial. You may consent
at any time prior to trial. If you expressly decline to consent or simply fail to consent early in the
case, you are not foreclosed from consenting later in the case. However. a prompt election to
proceed before a Magistrate Judge is encouraged because it will facilitate a more orderly scheduling
of the case.

Counsel for the plaintiff has been furnished a copy of the “Consent to Proceed Before a United
States Magistrate Judge for all Purposes” form. If and when the form is executed, your response
should be made to the Clerk of the United States District Court only.

WHAT IS THE ADVANTAGE?
The case will be resolved sooner and less expensively. The earlier the parties consent to assigning
the case to a Magistrate Judge the earlier a firm and certain trial date can be established, even if the

case is to be tried to a jury.

Upon the filing of the consent form the case will be randomly assigned for all purposes to a
Magistrate Judge.

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Rev. 11/11
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AO 85(Rev 11/11)
Consent to Trial by MI

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

Plaintiff

Vv. Civil Action No.

 

Defendant

NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

Notice of a magistrate judge's availability A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry ofa final
judgment. Once judgment is entered an appeal must be taken to the U.S. Court of Appeals for the D.C. Circuit and
not to the United States District Judge. A magistrate judge may exercise this authority only if all parties voluntarily

consent.

You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to any
judge who may otherwise be involved with your case.

Consent to a magistrate judge's authority The following parties consent to have a United States magistrate
judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

Parties’ printed names Signatures of parties or attorneys Dates

 

 

 

 

 

 

 

 

Note: Retum this form to the clerk of court only if you are consenting to the exercise jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
